Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 1 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 2 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 3 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 4 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 5 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 6 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 7 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 8 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 9 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 10 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 11 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 12 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 13 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 14 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 15 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 16 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 17 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 18 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 19 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 20 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 21 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 22 of 23
Case 8:14-bk-11492-ES   Doc 193 Filed 11/25/14 Entered 11/25/14 22:17:08   Desc
                         Main Document    Page 23 of 23
